                   UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


In the Matter of:
                                                               CHAPTER 13
Laura Lynne Lucas                                              CASE NO: 19-30218
                                                               JUDGE DANIEL S. OPPERMAN
            Debtor(s)
___________________________________/


                                 CERTIFICATE OF SERVICE



        I certify that on April 23, 2019, I served a copy of the Complaint in Adversary
Proceeding upon the Debtor, Laura Lynne Lucas by First Class Mail and I filed this Certificate
of Service of the Complaint in Adversary Proceeding with the Court using the ECF system
which will send notification of such filing to the following interested parties by either first class
mail and/or through the ECF system to all interested parties, Attorney’s of Record, The Trustee
and all creditors listed below:

NONE.




                                                       /s/Ramsey H. Mashni
                                                       Ramsey H. Mashni (P51314)
                                                       Mashni Law, PLC
                                                       132 W. Nepessing Street
                                                       Lapeer, Michigan 48446
                                                       Telephone: 810-245-2345
                                                       mashnijd@gmail.com




  19-03039-jda      Doc 1-1      Filed 04/23/19     Entered 04/23/19 16:49:20         Page 1 of 1
